 21-11411-scc        Doc 21-4    Filed 03/09/22 Entered 03/09/22 14:29:53           Declaration
                                 of Roman Peltsman Pg 1 of 3



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Attorneys for Lior Dagan as Foreign Representative of
Michael David Greenfield (a.k.a. Michael Ben-Ari)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                              Chapter 15

 MICHAEL DAVID GREENFIELD                            Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.


   DECLARATION OF ROMAN PELTSMAN IN SUPPORT OF MOTION OF LIOR
    DAGAN, THE FOREIGN REPRESENTATIVE, FOR ENTRY OF AN ORDER
 AFFIRMING HIS AUTHORITY TO REALIZE AND TAKE CONTROL OF CERTAIN
IDENTIFIED ASSETS OF THE DEBTOR AND ASSETS OF THE DEBTOR THAT MAY
     BE IDENTIFIED IN THE FUTURE WITHIN THE UNITED STATES AND
                REPATRIATE THOSE ASSETS TO ISRAEL

          I, Roman Peltsman, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

          1.     I am an Associate at Furth, Wilensky, Mizrachi, Knaani - Law Offices (“FWMK”),

a law firm based in Tel Aviv, Israel. I have practiced at FWMK since 2020. I hold an L.L.B. from

the Hebrew University in Jerusalem. Since 2019, I have been licensed to practice law in the State

of Israel. I have extensive experience in insolvency proceedings under Israeli law, including

liquidation proceedings, corporate rehabilitations, and creditor settlements.

          2.     The head of FWMK’s insolvency practice, Advocate Lior Dagan (the “Trustee”),

has been appointed by the Tel Aviv-Yafo District Court (the “Israeli Court”) as trustee for Michael

David Greenfield (“Greenfield,” a.k.a. Michael David Ben-Ari, or the “Debtor”) and EGFE Israel



                                                 1
 21-11411-scc       Doc 21-4     Filed 03/09/22 Entered 03/09/22 14:29:53              Declaration
                                 of Roman Peltsman Pg 2 of 3



Ltd. (the “Company”) and EGFE Hungary KFT (the “Hungarian Company”) in consolidated

insolvency proceedings that are currently pending in the Israeli Court (the “Israeli Proceedings”).

Mr. Dagan is also the Foreign Representative of Greenfield in this Chapter 15 case. I am a member

of a team of FWMK attorneys that are working with Mr. Dagan in connection with insolvency

proceedings involving Greenfield and the Company.

        3.      I submit this declaration (“Declaration”) in support of the Foreign Representative’s

motion for entry of an order affirming his authority to realize and take control of certain identified

assets of the debtor and assets of the debtor that may be identified in the future within the United

States and repatriate those assets to Israel.

        4.      This Declaration comprises legal opinions and statement of facts.

        5.      To the extent that matters stated in this Declaration are statements of fact that are

within my personal knowledge, they are true. To the extent that matters stated in this Declaration

are statements of fact not within my personal knowledge, they are derived from documents and/or

information supplied to me by or on behalf of the Trustee or other members of the Trustee’s team

and are true to the best of my knowledge, information, and belief.

        6.      Where the matters stated in this Declaration are statements of legal opinion, such

statements represent my view of Israeli law as a practicing lawyer.

        7.      The Debtor’s interests are promoted through repatriation of the assets to Israel

because it will allow consolidation of the disposition of the assets in the situs of the main

proceeding, rendering significant efficiencies in litigating the administration and distribution of

these assets, rather than through piecemeal, international litigation. In addition, the Debtor is

currently represented by an attorney in the Israeli Proceedings.

        8.      Under the Israeli Insolvency and Economic Rehabilitation Law of 2018 (the



                                                  2
 21-11411-scc      Doc 21-4     Filed 03/09/22 Entered 03/09/22 14:29:53               Declaration
                                of Roman Peltsman Pg 3 of 3



“Insolvency Act”) § 232, all debtor’s creditors are entitled to file a claim for debt owed in Israel.

This is irrespective of whether the creditor is an Israeli national or a foreigner. Further to the

Insolvency Act § 232, “[t]he debts in each grade in the order of repayment will be repaid to all

creditors in the same grade at an equal rate according to their amounts and without any preference.”

       9.      The Foreign Representative intends to distribute all of Debtor’s assets pro-rata

amongst all creditors, irrespective of where in the world they are located.

       10.     I am not aware of any creditors of the Debtor that have filed or intend to file a claim

in the United States.


Dated: March 9, 2022
                                                                     /s/ Roman Peltsman
                                                                     Roman Peltsman




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